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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA


BILAL HANKINS,
                                               Case No. 2:21-cv-01129
                  Plaintiff,
                                               Judge: Eldon E. Fallon
v.
                                               Magistrate Judge:
KEVIN WHEELER, RAMON PIERRE, and               Janis van Meerveld
CARL PERILLOUX (in their individual and
official capacities), THE ORLEANS LEVEE
DISTRICT POLICE, THE HOUSING
AUTHORITY OF NEW ORLEANS, THE                  Jury Trial Demanded
HURSTVILLE SECURITY AND
NEIGHBORHOOD IMPROVEMENT DISTRICT,
and DOE INSURANCE COMPANIES 1-6,

                   Defendants.



     PLAINTIFF’S MEMORANDUM IN OPPOSITION TO HANO DEFENDANTS’
                   MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       On June 13, 2020, Bilal and two friends stopped playing video games at his home to help

search for a lost dog. As the youths were driving through a neighborhood near Bilal’s home, Bilal

spotted a police officer—Defendant Kevin Wheeler—in a marked Orleans Levee District Police

Department (“OLD-PD”) car. They pulled up beside Wheeler. Bilal asked for help finding the lost

dog, gave his home address, and asked Wheeler to reach out should he find the lost dog. Wheeler

did not help. Instead, he radioed Defendant Ramon Pierre, who along with Wheeler was on patrol

for the Hurstville Security and Neighborhood Improvement District (“Hurstville”). Wheeler and

Pierre trailed Bilal and his friends, switched on flashing lights, and stopped Bilal and his friends.

Wheeler and Pierre then brandished their deadly firearms at Bilal and the others, only ending the

encounter after Bilal again told the officers what they knew all along—that he was looking for a

lost dog.

       Wheeler’s apology immediately following the stop has done nothing to quell Bilal’s

anxiety, nightmares, and sleeplessness resulting from this harrowing experience.

       To obtain relief for his harm, Bilal asserts claims under Section 1983 against Wheeler and

Pierre for their unreasonable stop and excessive use of force. Wheeler’s and Pierre’s stop was

unreasonable as based on nothing but a hunch of criminal activity and evidence reveals numerous

disputes of material fact. Wheeler and Pierre principally assert that they had reasonable suspicion

to conduct the stop given Wheeler’s purported experience with car burglaries in the area. But that

experience is untethered from the facts in this case. It rests on the absurd assertion that Bilal

attempted to preemptively mask his intent to burglarize cars by actively seeking out and soliciting

a police officer’s help in a red herring search for a lost beloved family dog. Wheeler and Pierre

also are not entitled to qualified immunity because case law clearly establishes that the stop was

unconstitutional.


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        Wheeler and Pierre also used objectively unreasonable excessive force, and there are

material disputes of fact on this issue. Bilal testified that Wheeler and Pierre brandished their

deadly weapons at him; Wheeler and Pierre deny this. Wheeler and Pierre are not entitled to

qualified immunity for the excessive force claim because their conduct violated Bilal’s clearly

established rights. Case law clearly establishes that where, as here, all the key factual

circumstances weigh against the use of force, officers cannot brandish their deadly weapons at

compliant youth. None of Defendants’ cases state otherwise.

        Bilal also brings claims against, among others, Pierre’s supervisors at the Housing

Authority of New Orleans, namely Tyrone Martin, Demetrius Jackson, Tommy Mercadal, and

Leontine Mullins (collectively, the “HANO Supervisors”). Evidence shows that the HANO

Supervisors disregarded Pierre’s conduct while on patrol in Hurstville in a manner that amounts

to deliberate indifference, establishing their failures to supervise, train, and discipline Pierre.

        For these reasons, and as discussed below, the Court should deny the HANO Supervisors’

Motion for Summary Judgment.

                                    STATEMENT OF FACTS

        On the night of June 13, 2020, then 18-year-old Bilal, was looking for Duchess, a lost white

chihuahua with brown spots, in his neighborhood. Ex. 1, Hankins Tr. 19:2–14, 22:8–21. Bilal and

two of his friends, a college student and a 12-year-old child, searched for the dog. Id. at 22:8–25:7,

36:23–37:6. Bilal and the others saw Wheeler, a uniformed police officer in a marked OLD-PD

police car. Id. at 47:12–23. While the others were initially hesitant to approach, Bilal asked

Wheeler whether he had seen the dog. Id. at 44:12–48:6. Bilal described the dog and gave Wheeler

his home address. Id. at 45:21–46:13. But it barely seemed to register with Wheeler, as he did not

take any notes or ask any questions. Id. at 47:1–8. After speaking with Wheeler, Bilal and his

friends resumed their search. Id. at 48:15–18.


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       Wheeler did not help search for the dog, and instead radioed Pierre, who also was on

Hurstville patrol, and works full time for the Housing Authority of New Orleans Police Department

(“HANO”). Ex. 2, Wheeler Tr. 52:5–25. Pierre was wearing plain clothes and driving his personal

truck at the time. Ex. 1, Hankins Tr. 99:22–23; Ex. 3, Pierre Tr. 42:17–43:4. Wheeler expressed

skepticism that Bilal truly was searching for a dog, thinking that three Black males, in a nice car

in a nice neighborhood at night, must have been seeking to commit a crime such as, according to

him, burglary, general theft, or auto theft. See Ex. 2, Wheeler Tr. 49:9–51:23.

       For all the time that they followed and observed the car in which Bilal rode, Wheeler and

Pierre did not observe any behavior by Bilal or his friends that was inconsistent with them looking

for the lost dog. Neither officer reported seeing Bilal or his friends reaching toward car door

handles, pulling on car door handles, or otherwise touching or surveilling parked cars as they were

driving. Ex. 3, Pierre Tr. 80:9–22. Neither officer reported that Bilal or his friends committed any

traffic violations. Id. at 60:5–15. Wheeler ran a license plate search on the vehicle, and the search

confirmed that the vehicle had not been reported stolen and was registered to a New Orleans East

address. Ex. 2, Wheeler Tr. 52:5–12.

       Wheeler and Pierre spoke as they both tracked Bilal and his friends. Id. at 53:14–54:20.

Wheeler and Pierre jointly decided to conduct an illegal traffic stop, pulling Bilal and his friends

over without reasonable suspicion. Id. at 62:11–63:9. Both Wheeler and Pierre brandished their

guns at Bilal and his friends and accused them of lying about their search for the lost dog. Ex. 1,

Hankins Tr. 61:11–16. Wheeler and Pierre brandished their guns, even though Bilal’s, and his

friends’, actions were entirely peaceful and compliant; and both officers knew that the youths had

just requested assistance with locating the lost dog. Id. Only after the officers were satisfied that

Bilal and his friends proved they were telling the truth did the officers allow Bilal and his friends




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to leave. Id. at 75:21–78:7; Ex. 3, Pierre Tr. 94:4–9.

        On the evening in question, Wheeler was working under OLD-PD’s paid detail system, as

an officer for Hurstville, a neighborhood adjoining Bilal’s own. Pierre, who was in his personal

truck and wearing plain clothes, worked full-time for HANO. On that night, Pierre too was working

a paid security detail, for HANO and as an officer for Hurstville. Moreover, both had prior

disciplinary issues. Wheeler previously was fired from the New Orleans Police Department for

tasing an unarmed suspect and lying about it. Ex. 4, Wheeler Termination. Pierre had received

reprimands from HANO, including for insubordination.

        Wheeler’s and Pierre’s Hurstville Supervisor Defendant Perilloux, Wheeler’s supervisors

Defendants Najolia, Brenckle, Petit, Laurent, and Brown, along with Pierre’s supervisors Tyrone

Martin, Demetrius Jackson, Tommy Mercadal, and Leontine Mullins (collectively, the “Defendant

Supervisors”) all point various fingers at each other as to who was responsible for supervising

Wheeler and Pierre. HANO Defendants and Southeast Louisiana Flood Protection Authority-East

(“SLFPA-E”) Defendants all admit they did not consider themselves responsible for supervising

Wheeler and Pierre on paid detail. Nevertheless, Defendant Supervisors testified that Wheeler and

Pierre were responsible for following police guidelines and trainings. Wheeler previously had been

fired for using excessive force and lying about it, and Pierre previously had been disciplined for

insubordination, yet both officers had no supervision while working a paid detail and carrying

guns. Here, Wheeler was in a marked car in his OLD-PD uniform and Pierre was in a private

vehicle, in plain clothes.

        The HANO Supervisors (Martin, Jackson, Mercadal, and Mullins) are responsible for

supervising Pierre. Martin, as a HANO Lieutenant, is the operations commander and is responsible

for handing out assignments, conducting investigations, and generally supervising both sergeants




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and patrol officers. Ex. 5, Martin Tr. 17:11–20, 46:25–48:19. Jackson, as a HANO Sergeant, is

responsible for supervising HANO patrol officers including deploying them in the field and

ensuring that they comply with HANO’s policies and procedures. Ex. 6, Jackson Tr. 16:2–6,

19:17–23. Jackson is also the paid detail coordinator; thus, he is responsible for reviewing officer

requests to work paid details and for tracking when and where his officers are working these paid

details. Id. at 41:6–42:4. Mercadal is a HANO sergeant and responsible for issuing assignments,

supervising patrol officers in the field, and handling complaints and disciplinary actions. Ex. 7,

Mercadal Tr. 18:4–22. Mullins is also a HANO sergeant, and her responsibilities include ensuring

officers are performing assignments as instructed, assisting with any required paperwork, and

signing off on arrests or traffic tickets. Ex. 8, Mullins Tr. 38:8–22.

       The HANO Supervisors each admit that they do not supervise Pierre while he is working

a paid detail. Rec. Doc. 142-1 at p. 14. Martin expects that HANO officers follow HANO policies

and procedures while working paid details, but takes no steps to ensure compliance. Ex. 5, Martin

Tr. 72:22–73:14. Martin charges Jackson with responsibility for coordinating with paid detail

supervisors. Id. at 50:1–51:11. But Jackson has only communicated with Perilloux once regarding,

for example, forms patrol officers must complete before working details. Ex. 6, Jackson Tr. 66:25–

67:2. Jackson also never provided Perilloux with HANO policies or procedures, HANO officers’

POST training certificates, or HANO personnel files. Id. at 38:17–22, 65:2–16, 90:4–18. Jackson

does not even know whether paid detail supervisors are aware of the HANO policies and

procedures that officers are required to follow while working the detail. Id. at 39:10–17. Mercadal

took no action to supervise officers while they worked paid details, although he understood that

HANO officers must follow the “secondary employment policy and procedure” and that they had

the same “normal police duties or responsibilities” at paid details. Ex. 7, Mercadal Tr. 49:17–




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50:51:1. Mullins admits that she has no idea when her subordinate officers are working paid

details. Ex. 8, Mullins Tr. 36:1–3.

       The Defendant Supervisors all disclaim any responsible for supervising Wheeler and

Pierre. The HANO Supervisors and SLFPA-E Defendants all admit they did not consider

themselves responsible for supervising Wheeler and Pierre on paid detail. Nevertheless, Defendant

Supervisors testified that Wheeler and Pierre were responsible for following police guidelines and

trainings. Wheeler had previously been fired, and Pierre had previously been disciplined for

insubordination, yet both officers were left with no supervision while working a paid detail and

carrying guns. During the incident here, Wheeler was in a marked car and wearing his OLD-PD

uniform and Pierre was in his personal truck, in plain clothes. Ex. 3, Pierre Tr. 42:17–43:4.

       After discovery limited to qualified immunity, material factual issues remain in dispute,

including the following:

       •   Bilal states that Wheeler and Pierre brandished their guns at him and his two friends.
           Defendants deny this. Whether the officers drew their weapons is critical to
           determining whether their actions were objectively reasonable under the circumstances.

       •   Bilal states he offered his address to Wheeler to help search for the dog. Wheeler claims
           Bilal did not give him an address and it raised his suspicions. The degree to which Bilal
           actively cooperated with the officers is critical to determining the objective
           reasonableness of the officers later drawing their guns at Bilal.

       •   Bilal states that none of the car passengers were hanging out of the car windows prior
           to the stop. Defendants claim the youths were hanging out of the car windows. Whether
           Bilal and the other car occupants were hanging out of the windows is critical to
           determining the objective reasonableness of the officers pulling them over and later
           drawing their weapons on the unarmed and compliant minors.

       •   Bilal states that he is deeply traumatized by the events of that night. Defendants claim
           that Bilal has suffered no emotional distress.

       •   The HANO Supervisors state that Pierre received training, that they do not supervise
           him while his is working paid details, and have not failed to discipline him, but there
           is a material fact dispute as to whether the HANO Supervisors should be and are
           responsible for supervising, training, and discipling Wheeler and Pierre while they are
           working a paid detail.


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                                       LEGAL STANDARD

       Courts must deny a summary judgment motion, absent a showing that “there is no genuine

issue as to any material fact.” Cox v. Wal-Mart Stores E., L.P., 755 F.3d 231, 233 (5th Cir. 2014)

(citations omitted). A genuine dispute regarding a material fact exists where “the evidence is such

that a reasonable jury could return a verdict for the nonmoving party.” Sweetin v. City of Texas

City, Texas, 48 F.4th 387, 391 (5th Cir. 2022) (citation omitted). At summary judgment, courts

“must view the evidence and draw reasonable inferences in the light most favorable to the

nonmoving party.” Cox, 755 F.3d at 233.

                                           ARGUMENT

I.     PIERRE VIOLATED BILAL’S CONSTITUTIONAL RIGHTS.

       To prevail on a supervisory liability claim, a plaintiff must raise a genuine dispute of

material fact about whether a subordinate officer violated the constitution. Roberts v. City of

Shreveport, 397 F.3d 287, 292 (5th Cir. 2005). A plaintiff need not show that the subordinate’s

constitutional violation was objectively unreasonable. Id. (concluding supervisor “remains

vulnerable to a failure to train claim,” where jury found that subordinate’s conduct was

unconstitutional, albeit not objectively unreasonable).

       A.      Pierre Has Not Shown That His Conduct Was Within the Scope of His
               Discretionary Authority.

       To invoke qualified immunity, a defendant must first show that their actions were within

the scope of their discretionary authority. Sweetin v. City of Texas City, Texas, 48 F.4th 387, 392

(5th Cir. 2022) (citation omitted). If defendants establish that they were acting within the scope of

their authority, only then does the burden shift to plaintiffs. Id. Courts apply state law to determine

the scope of an official’s discretionary authority, and “[a]n official acts within his discretionary




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authority when he performs non-ministerial acts within the boundaries of his official capacity.”

Cherry Knoll, LLC v. Jones, 922 F.3d 309, 318 (5th Cir. 2019).

       Here, Pierre fails to make the threshold showing that he had the discretionary authority to

conduct a traffic stop and brandish his firearm at Bilal. The statute establishing Hurstville’s limited

powers did not grant Pierre this authority. See La. Stat. Ann. § 33:9091.11(E)(5) (granting

Hurstville limited authority to “provide or enhance security patrols in the district”). Statutes

governing HANO’s circumscribed police powers also did not grant Pierre this authority because

his conduct did not further “the protection of persons, properties, or interests relating to HANO.”

La. Stat. Ann. § 40:456.1(A) (emphasis added); see also id. § 40:456.1(B). Under these

circumstances, Bilal need not show that Pierre violated the constitution. See, e.g., Sweetin, 48 F.4th

at 391 (reversing lower court’s grant of summary judgment on qualified immunity to a city “permit

officer,” where officer seized drivers without discretionary authority to do so); see also Malina v.

Gonzales, 994 F.2d 1121, 1126 (5th Cir. 1993) (affirming denial of qualified immunity to a judge

who had made a traffic stop because the judge “is no different than any other person who purchases

a red light and stops people on the interstate”). Thus, there is a material dispute of fact about

whether Pierre violated the constitution.

       B.      Bilal’s Unreasonable Seizure Claim is Supported by Robust Evidence.

       The evidence shows a genuine dispute of material fact about whether Wheeler and Pierre

lacked reasonable suspicion to stop Bilal. “Warrantless searches and seizures are per se

unreasonable under the Fourth Amendment—subject only to a few specifically established and

well-delineated exceptions.” United States v. Hill, 752 F.3d 1029, 1033 (5th Cir. 2014) (citation

omitted). One exception is the Terry stop, articulated by the Supreme Court in Terry v. Ohio, 392

U.S. 1 (1968), whereby “police officers may stop and briefly detain an individual for investigative

purposes if they have reasonable suspicion that criminal activity is afoot.” Goodson v. City of


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Corpus Christi, 202 F.3d 730, 736 (5th Cir. 2000). “Under Terry, if a law enforcement officer can

point to specific and articulable facts that lead him to reasonably suspect that a particular person

is committing, or is about to commit, a crime, the officer may briefly detain—that is, seize—the

person to investigate.” Hill, 752 F.3d at 1033 (citation omitted). “The officer must be able to

articulate more than an inchoate and unparticularized suspicion or hunch of criminal activity.”

Illinois v. Wardlow, 528 U.S. 119, 123–24 (2000) (citation omitted).

       It is undisputed that Bilal and his friends first approached Wheeler by driving toward his

vehicle and requesting assistance finding a lost dog. Ex. 2, Wheeler Tr. 49:6–51:5. Wheeler then

ran a computer search on the license plate and determined that the car was registered to an address

in New Orleans East. After this encounter, Wheeler concluded that a stop was not necessary. Id.

at 62:11–63:3. Wheeler then recounted his interaction to Pierre, who himself had not witnessed

Bilal’s vehicle or interacted with the passengers. Id. at 62:11–63:19; Ex. 3, Pierre Tr. 70:22–71:17,

80:23–81:5. Based on this discussion—and before Pierre ever encountered Bilal in the vehicle—

Pierre decided that “something is not right here.” Ex. 2, Wheeler Tr. 63:4–19; see also id. at 69:10–

14. Thereafter, Pierre and Wheeler decided together to stop the vehicle, despite the absence of any

new information since Wheeler—who had seen the vehicle and interacted with Bilal—determined

that a stop was not justified. Id. at 62:11–63:19.

       This is not reasonable suspicion. Rather, determining that “something is not right” based

on a secondhand account of an officer being approached by individuals asking for help is just the

type of “inchoate and unparticularized suspicion” that cannot support a lawful stop. Reasonable

suspicion requires “more than a hunch.” United States v. Michelletti, 13 F.3d 838, 840 (5th Cir.

1994) (en banc). Yet by all accounts, a hunch is, at most, all that Pierre and Wheeler had when

they decided to conduct the stop of three young black males in an affluent neighborhood where




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they were perceived by police officers as looking out of place. As Pierre testified, Wheeler and

Pierre decided to conduct the stop before Pierre had even seen the vehicle—meaning that Pierre

learned no new information about the vehicle or its occupants after Wheeler called and before the

stop took place. Ex. 3, Pierre Tr. 70:15–73:20.

       Yet Defendants assert that they were justified in conducting the stop because the vehicle

was moving slowly and because car burglaries had previously occurred in the neighborhood. Id.

at 60:5–24. They also assert that the car was not registered to a location close to the encounter—

although a license plate search did not show the vehicle as stolen. Ex. 2, Wheeler Tr. 52:10–12.

Taken together, these post hoc justifications fall far short of reasonable suspicion. They are also

disputed by Bilal’s evidence, which describes an ordinary scene of three friends driving around

looking for a lost dog. Bilal testified that the vehicle’s seat belt indicator did not go off, which it

would have if the passengers had not been wearing their seat belts and had been hanging out of the

windows as Wheeler asserted. Ex. 1, Hankins Tr. 39:6–14. While Pierre asserts that he saw the

front passenger “leaning outside the vehicle as to suggest he was pulling on car door handles,”

(Ex. 3, Pierre Tr. 80:12–18), this fact is disputed by Bilal, who testified that neither he nor the

other occupants leaned out of the vehicle’s windows during the stop. Ex. 1, Hankins Tr. 39:21–

40:2. 1 And Pierre admits that he did not observe any of the vehicle occupants attempt to open a

car door, before he initiated the stop. Ex. 3, Pierre Tr. 80:19–22. Bilal also not only testified that

he approached Wheeler voluntarily and without being bidden to so do, but also that he told Wheeler

his current address during their first interaction—an action that is inconsistent with a person who

is in the process of committing a crime. Ex. 1, Hankins Tr. 45:10–46:13.


1
   Even accepting Pierre’s account as true, this behavior would be entirely consistent with Bilal’s
explanation to Wheeler, recounted to Pierre: the search for a lost dog. In any event, any credibility
determination to be made between Bilal’s and Defendants’ versions of events leading up to the stop is
inappropriate for summary judgment. See Tarver v. City of Edna, 410 F.3d 745, 753 (5th Cir. 2005).


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       Under similar circumstances, courts have declined to find that an officer had reasonable

suspicion to conduct a stop as a matter of law. In Gonzalez v. Huerta, for example, the Fifth Circuit

held that an unconstitutional seizure occurred where an officer detained the plaintiff based solely

on “the bare report of a ‘suspicious’ vehicle in the school parking lot” and “a recent history of

burglaries of motor vehicles at the same location.” 826 F.3d 854, 857–58 (5th Cir. 2016); see also

Brown v. Texas, 443 U.S. 47, 52 (1979) (police stop of a suspect was not supported by reasonable

suspicion, where the suspect merely “looked suspicious” in a “neighborhood frequented by drug

users”); Alexander v. City of Round Rock, 854 F.3d 298, 305 (5th Cir. 2017) (declining to conclude

as a matter of law that an officer had reasonable suspicion where “the most [the officer] could have

observed was a man ([plaintiff]) briefly looking around a vehicle in the parking lot, turning to get

into a car, noticing a police car, continuing to get into the car, and beginning to drive further into

the parking lot”).

       Defendants point to no “specific and articulable facts which, taken together with rational

inferences from those facts, reasonably warrant” the stop. United States v. Rodriguez, 564 F.3d

735, 741 (5th Cir. 2009) (citation omitted). Rather, the circumstances are analogous to those in

Hill, where the court noted the government’s “attempt[] to put an ominous gloss on what appears

almost entirely ordinary.” 752 F.3d at 1034. By contrast to circumstances where reasonable

suspicion might be found, Bilal and the other occupants “were not offending any traffic ordinance;

there was no evidence of recent crimes in the neighborhood, no reason to suspect that [Bilal] or

[the] passenger[s] were wanted by the police, and no other reason to believe that anything unusual

was taking place.” Id. (citation omitted). This might explain why Defendants do not point to any

cases supporting their conclusion that the stop was justified under these circumstances. See Rec.

Doc. 142-1 at p. 12–13. They cite cases to assert that the stop “lasted no longer than necessary,”




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but these cases are inapposite because the courts analyzed the length of the stop only after first

determining that the stop itself was supported by reasonable suspicion, see id. at 13–15. 2

        Bilal’s expert, Dan Busken, who has 35 years of law enforcement experience, agrees that

Wheeler’s and Pierre’s conduct was not justified. See, e.g., Ex. 9, Busken Report at 18 (“Officer

Wheeler’s and Officer Pierre’s detaining Hankins and the others was inconsistent with law

enforcement training as well as recognized, accepted law enforcement practices.”). As Mr. Busken

explains in his report, while “[p]olice officers learn through training that subjective suspicious

activity may draw their attention to some situation or occurrence that may be criminal in nature, . . .

without specific, articulable facts, this subjective feeling alone does not constitute objective

reasonable suspicion to detain, nor does it provide probable cause to arrest.” Id. at 19. Mr. Busken

also explains that the objective facts did not indicate that any criminal activity was taking place:

“the location of the vehicle (away from the location where it was registered), initiating consensual

contact with a police officer requesting assistance looking for a lost dog, remaining in the area to

look for the dog, rather than leave the area to avoid further contact with the police, and a computer

check that revealed the car was not reported stolen.” Id. at 18.

        Thus, there is a genuine dispute of material fact that precludes summary judgment on the

issue of whether Bilal’s stop was supported by reasonable suspicion.




2
  E.g., Courson v. McMillian, 939 F.2d 1479, 1492 (11th Cir. 1991) (finding that the officer had reasonable
suspicion to make a Terry stop and conduct an approximately thirty-minute seizure in light of the
“significant,” “particular facts of this case,” including that the plaintiff and her companions were “traveling
at excessive speed in a no passing zone late at night, passed [the officer] in a vehicle that was similar to one
that he had noticed earlier . . . in the vicinity of cultivated marijuana fields that he was watching,” “[t]he
vehicle did not respond initially to [the officer’s] siren and flashing blue light,” the occupants “did not
respond to [the officer’s] loud instruction to exit the vehicle,” the occupants “appeared to have difficulty
exiting, possibly indicating intoxication or drug use,” and all three occupants “walked toward [the officer],
who was alone”).


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       C.      Bilal’s Excessive Use of Force Claim is Supported by Robust Evidence.

       To prove an excessive force claim, a plaintiff must demonstrate “(1) an injury that (2)

resulted directly and only from the use of force that was excessive to the need and that (3) the force

used was objectively unreasonable.” Sam v. Richard, 887 F.3d 710, 713 (5th Cir. 2018).

       Bilal has suffered a constitutionally cognizable injury, including nightmares, anxiety, and

distress. See Ex. 10, Hankins Decl. ¶¶ 9–16. “[W]hether an injury is cognizable depends on the

reasonableness of the force, not just the extent of injury.” Sam, 887 F.3d at 714 (citation omitted).

Therefore, “[a]ny force found to be objectively unreasonable necessarily exceeds the de minimis

threshold” and “as long as a plaintiff has suffered some injury, even relatively insignificant injuries

and purely psychological injuries will prove cognizable when resulting from an officer’s

unreasonably excessive force.” Id. at 713. Here, Bilal’s psychological harm exceeds the de minimis

threshold because he has suffered severe emotional distress resulting from Pierre’s and Wheeler’s

unreasonably excessive force. See, e.g., Hodge v. Layrisson, 1998 WL 564263, at *5–6 (E.D. La.

Sept. 1, 1998) (finding “emotional distress” satisfies the injury requirement of an excessive force

claim where it resulted from a police officer brandishing his firearm in an excessive use of force);

Mannis v. Cohen, 2001 WL 1524434, at *8 (N.D. Tex. Nov. 28, 2001) (similar).

       As set forth in detail by Bilal in his declaration attached hereto, the actions of Wheeler and

Pierre have had a significant negative impact on his mental health. Since the incident, Bilal has

had trouble sleeping, experiencing traumatizing and deeply disturbing nightmares. Ex. 10, Hankins

Decl. ¶ 10. His nightmares have involved flashing cop lights, officers in uniform driving cop cars,

and swarms of policemen drawing their guns on him. Id. Bilal also has regularly experienced

severe stress resulting from the incident, including emotional states of acute anxiety and extreme

panic and fright when he is near police officers. Id. ¶¶ 11–12. Bilal’s emotional distress has only

magnified since he moved back to New Orleans in November 2020—he no longer feels safe in his


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own neighborhood, regularly experiencing flashbacks to the incident. Id. ¶ 12. Moreover, Bilal has

become antisocial since the incident, retreating from his friends and family, deleting his social

media accounts, and feeling like he wants to disappear from the world. Id. ¶¶ 13–14. The effect of

this incident has been so drastic that Bilal no longer consistently socializes with his friends,

because of his debilitating anxiety and shame for the potential to reveal how this incident “has

broken [his] mental state.” Id. ¶ 15. Most fundamentally, this incident “has had a lasting impact

on [Bilal’s] sense of self and self-worth.” Id. ¶ 16.

       It is sufficient to rely on Plaintiff’s undisputed testimony and recitation of the facts, where

not contrary to any other evidence in the record. See Odubela v. Exxon Mobil Corp., 736 F. App’x

437, 441 (5th Cir. 2018) (“[The Court] will not evaluate credibility or weigh evidence” at the

motion for summary judgment stage); Leonard v. Dixie Well Serv. & Supply, Inc., 828 F.2d 291,

294 (5th Cir. 1987) (“The party opposing a motion for summary judgment, with evidence

competent under Rule 56, is to be believed.”). In his declaration, Bilal has painfully detailed the

severe and prolonged emotional distress resulting from Defendants’ conduct, which more than

satisfies the injury requirement.

       Wheeler’s and Pierre’s use of force was excessive relative to the need and objectively

unreasonable because they brandished their guns at Bilal who posed no threat whatsoever to them.

To determine whether force was objectively unreasonable, courts assess the “facts and

circumstances of each particular case,” including (1) “the severity of the crime at issue”; (2)

“whether the suspect poses an immediate threat to the safety of the officers or others”; and

(3) “whether he is actively resisting arrest or attempting to evade arrest by flight.” Cooper v.

Brown, 844 F.3d 517, 522 (5th Cir. 2016) (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)).




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       First, no crime was at issue because Wheeler and Pierre did not even have reasonable

suspicion to conduct a stop. See supra § I.A; see Rec. Doc. 142-1 at p. 11–13.

       Second, evidence establishes that at no point did Bilal or any of his friends pose a threat to

Wheeler and Pierre, let alone a threat justifying them brandishing their guns at Bilal. For example,

it is undisputed that Bilal and his friends affirmatively approached Wheeler, seated in his marked

police car, and sought his help in finding the lost dog. Ex. 1, Hankins Tr. 44:12–46:13. Bilal told

Wheeler his home address during this first encounter and described the lost dog. Id. at 45:21–

46:13. Neither Wheeler nor Pierre testified that he observed Bilal and his friends committing any

traffic violations, and both admitted that Bilal and his friends were kids. Rec. Doc. 142-2 at ¶ 3.

All of these facts show that Bilal posed no threat to the safety of Wheeler and Pierre.

       Third, Bilal never at all resisted any interaction with Wheeler and Pierre or otherwise

attempted to evade them. Notwithstanding Bilal’s understandable shock of being pulled over after

just having sought Wheeler’s help, Bilal and his friends stopped promptly when Wheeler flashed

his car lights. Ex. 1, Hankins Tr. 55:16–56:17. The Defendants immediately drawing their weapons

on Bilal and his friends was thus an extreme escalation of force that was completely unwarranted

and objectively unreasonable given the circumstances.

       Defendants cannot overcome the undisputed fact that Bilal and his friends did not resist

any interaction with Wheeler and Pierre or otherwise attempt to evade them by mischaracterizing

Bilal’s testimony to assert that Wheeler and Pierre testified that neither drew their weapon. Rec.

Doc. 142-1 at p. 15–16. In fact, Bilal testified repeatedly that both Wheeler and Pierre brandished

their guns at him. Ex. 1, Hankins Tr. 64:6–25, 65:15–17. Defendants also argue that Bilal cannot

establish a constitutional violation because “merely drawing a weapon” does not “support[] a

finding of excessive force.” Rec. Doc. 142-1 at p. 15–16. Not so. Here, it was objectively




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unreasonable for Wheeler and Pierre to brandish their deadly weapons at compliant youths who

had previously sought Wheeler’s help finding a lost dog. Bilal’s expert agrees that Wheeler’s and

Pierre’s conduct was unjustified. See Ex. 9, Busken Report at 17–18 (“[I]t is my opinion that the

use of force as alleged by Bilal Hankins in his complaint and in his testimony was not justified

based on the totality of the circumstances, inconsistent with generally accepted police practices,

or what is generally understood by law enforcement to be appropriate.”).

        The HANO Supervisors’ argument regarding excessive force principally rely on a single,

out-of-circuit case, McNair v. Coffey, 279 F.3d 463, 465 (7th Cir. 2002). There, an officer “had

probable cause to believe that the [plaintiffs] had not paid parking tickets” and “[d]espite seeing

the cruiser’s flashing lights, the [plaintiffs] did not pull over for some time.” Id. To the contrary,

Wheeler identified no evidence of any potential warrants or other offenses when he ran a database

search on the vehicle and Bilal and his friends promptly pulled over after Wheeler activated his

lights and used his loudspeaker. Ex. 2, Wheeler Tr. 52:5–12, 70:2–71:11. The McNair court further

found that the officers had probable cause for their actions, giving their greater discretion to act

than the relatively lower standard of reasonable suspicion at issue here. 279 F.3d at 465; see also

United States v. Arvizu, 534 U.S. 266, 273–74 (2002) (explaining that for reasonable suspicion

“the likelihood of criminal activity need not rise to the level required for probable cause”).

        Accordingly, material disputes of fact exist regarding Bilal’s excessive use of force claim.

II.     THE HANO SUPERVISORS ARE NOT ENTITLED TO QUALIFIED IMMUNITY
        ON BILAL’S SECTION 1983 CLAIMS FOR FAILURE TO SUPERVISE,
        DISCIPLINE, OR TRAIN.

        To establish supervisory liability under Section 1983 liability, a plaintiff must show that

(1) the supervisor failed to supervise, train, or discipline an officer; (2) a causal connection existed

between the failure to supervise, train, or discipline and the violation of the plaintiff’s

constitutional rights; and (3) the failure to supervise, train, or discipline amounted to deliberate


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indifference to the plaintiff’s constitutional rights. City of Canton v. Harris, 489 U.S. 378, 385–88

(1989); see also Burge v. St. Tammany Par., 336 F.3d 363, 370 (5th Cir. 2003). Municipal liability

cases are instructive to the analysis of qualified immunity as it pertains to claims against

supervisors sued in their individual capacity. See Doe v. Taylor Indep. Sch. Dist., 15 F.3d 443, 453

(5th Cir. 1994) (engaging in a qualified immunity analysis).

       “[D]eliberate indifference” requires evidence “that a municipal actor disregarded a known

or obvious consequence of his action.” Bd. of Cnty. Comm’rs of Bryan Cnty. v. Brown, 520 U.S.

397, 410 (1997). Deliberate indifference can occur through “action or inaction.” See Southard v.

Texas Bd. of Crim. Just., 114 F.3d 539, 550–51 (5th Cir. 1997) (emphasis added). Courts’ analysis

of supervisory liability differs from that relating to a subordinate officer’s constitutional violation

because supervisors face “liability [] under Section 1983 if a responsible official supervises, trains,

or hires a subordinate with deliberate indifference toward the possibility that deficient performance

of the task eventually may contribute to a civil rights deprivation.” See, e.g., Ernso v. Weber, 1999

WL 1201907, at *3 (E.D. La. Dec. 13, 1999) (quoting Camilo-Robles v. Zapata, 175 F.3d 41, 44

(1st Cir. 1999)) (cleaned up).

       A.      The HANO Supervisors’ Failure to Supervise Amounts to Deliberate
               Indifference and Caused the Violation of Bilal’s Constitutional Rights.

       There is no dispute that the Hurstville paid detail is not, for example, a detail at a restaurant

or store, where Pierre might be unlikely to engage in police work. To the contrary, the core purpose

of the Hurstville patrol is to provide security on neighborhood streets. Ex. 3, Pierre Tr. 35:6–36:9.

The Hurstville patrol is essentially a small police force, and Pierre is engaged in core police

functions while working a Hurstville paid security detail. Id. at 35:13–36:6. There is no dispute

that while on Hurstville details Pierre conducted vehicle stops, carried his gun, and donned a bullet

proof vest. Id. at 40:2–42:15. He also engaged in these activities without any indicia that he worked



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full-time for HANO, as he worked in plain clothes and drove his personal truck. Id. at 42:17–43:4;

Ex. 1, Hankins Tr. 99:21–23.

       Despite the well-known and obvious risks attendant to Pierre possessing his gun,

conducting stops, working in plain clothes, and driving his personal vehicle while on the paid

detail, each of the HANO Supervisors admits that he or she “does not undertake to supervise

[Pierre]” during paid details. Rec. Doc. 142-1 at p. 8. The extent of their knowledge of Pierre’s

activities is “when and where” Pierre is working a paid detail. Id. But that is not enough. Because

of the HANO Supervisors’ failures to supervise, Pierre knew that no one was supervising him and

thus he would be immune from oversight for constitutional violations.

               1.     Each of the HANO Supervisors’ failures to supervise Pierre amounted
                      to deliberate indifference.

                      a.       Martin utterly failed to supervise Pierre.

       Martin, as HANO Lieutenant, was responsible for all HANO officers. Ex. 5, Martin Tr.

17:11–20, 46:25–48:19. Martin testified that Pierre is “supposed to be” subject to the same

supervision when working at HANO or at a paid detail. Id. at 73:13–23. But Martin admits that he

had minimal contact with Hurstville’s supervisor, Perilloux. Id. at 72:22–73:14 (explaining that he

did nothing to check or confirm whether Perilloux was supervising Pierre on a paid detail). When

Martin agreed to permit HANO officers to work paid details at Hurstville, he had just one short

call with Perilloux, where Perilloux just asked “if [HANO] had any officers that were interested

in working” the paid detail. Id. at 30:10–31:12. Martin approved Pierre’s paid detail requests

without ever contacting anyone at Hurstville. Id. at 28:24–29:7. Martin neither shared HANO’s

policies and procedures with Hurstville nor did he ever ask HANO’s detail coordinator, Jackson,

to do so. Id. at 33:19–34:2. Martin admitted that he does not know Pierre’s activities while Pierre

is working the Hurstville detail. Id. at 50:1–12. Martin knows that Hurstville patrol officers



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complete activity sheets, but he has never received a copy and thus has not reviewed them. Id. at

41:6–18, 44:15–19.

       Martin’s only effort to supervise Pierre while he is on a paid detail is to “sign off [on] the

log,” which notes just the time, date, and place at which a HANO officer plans to work a paid

detail. Id. at 34:2–34:18. The log offers no insight into an officer’s expected activities nor any

ability for officers to report incidents that have occurred on a paid detail. Ex. 11 (HANO Paid

Detail Log) at 17.

                       b.      Defendant Jackson utterly failed to supervise Pierre.

       Jackson was the paid detail coordinator meaning he had primary responsibility for

administering HANO’s paid detail program. Ex. 6, Jackson Tr. 41:6–42:4. When asked whether

he is “supervising HANO PD officers while they’re working paid details,” Jackson confessed,

“No.” Id. at 38:17–22. Jackson expected Pierre to follow HANO’s policies and procedures while

on paid details, but made no effort to ensure Pierre’s compliance. Id. at 34:5–20. Jackson spoke

with Perilloux only once about the Hurstville paid detail, where Perilloux “showed [Jackson]

where they clock in at, told [him] what forms they needed to fill out to work the details” and

“[t]hat’s about it.” Id. at 66:25–67:2, 65:2–16. Jackson never asked Perilloux of his efforts to

supervise Hurstville patrol officers, or to notify Jackson if HANO officer had incidents with

civilians or otherwise during paid details. Id. at 69:3–6. Jackson does not know whether Perilloux

is aware of the HANO policies that HANO officers must follow while working paid details. Id. at

39:10–17, 90:4–18. Jackson never provided Perilloux with HANO officers’ POST training

certificates or HANO personnel files, including that of Pierre. Id. at 90:4–91:7. Thus, HANO

officers are being “supervised” by Perilloux, although Perilloux is unaware of the officers’ relevant

training or whether they have recently been subject to disciplinary infractions—e.g., as to Pierre,

for insubordination. Ex. 12, (HANO000846-000872).


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       Jackson also was responsible for maintaining the threadbare paid detail logs and this was

his only means of tracking relevant information. Ex. 6, Jackson Tr. 47:15–18, 54:6–23. Jackson

has never contacted paid detail supervisors while his officers were working the Hurstville detail.

Id. at 45:8–24. Jackson also, for example, testified that he “assumes” Pierre would notify the detail

supervisor about brandishing a gun on a citizen, but Jackson cannot be sure that Pierre’s detail

supervisor would report the incident to HANO. Id. at 59:18–60:10.

                       c.      Mullins utterly failed to supervise Pierre.

       Mullins supervised Pierre at HANO, but never spoke with Perilloux and never provided

anyone at Hurstville with HANO’s policies. See Ex. 8, Mullins Tr. 34:24–35:5, 50:2–4. Mullins

has no idea when her subordinate officers are working paid details. Id. at 36:1–3.

                       d.      Mercadal utterly failed to supervise Pierre.

       Mercadal did nothing to supervise officers working paid details. Ex. 7, Mercadal Tr. 50:8–

10. Despite knowing that officers were to follow HANO’s policies while on paid details, Mercadal

never informed anyone at Hurstville of those policies or provided them with HANO officers’

POST training certificates. Id. at 59:8–24. Mercadal does not even know who the supervisor is at

Hurstville and he has never spoken to Perilloux. Id. at 58:23–59:7. He understood that HANO

officers working paid details were to follow the “secondary employment policy and procedure”

and that they had the same “normal police duties or responsibilities[.]” Id. at 49:17–51:1. But

Mercadal asserts that these officers are responsible for supervising themselves. Id. at 57:4–8.

                       e.      All the HANO Supervisors failed to supervise Pierre with
                               knowledge of his history of violating HANO policies.

       HANO internal complaints show that Pierre was insubordinate. Ex. 12, (HANO000846-

000872). In just the year prior to the incident here, Pierre faced discipline at HANO for “fail[ing]

to follow instructions given” to him, constituting “insubordination, discourtesy and misconduct.”



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Id. He also was suspended for seven days in 2015, again for insubordination and refusing to follow

a supervisor’s directive. Id.

       All the HANO Supervisors knew of Pierre’s prior insubordination. Ex. 5, Martin Tr. 64:13–

25, 71:6–72:22 (explaining Pierre failed to inform his supervisor of his whereabouts); Ex. 6,

Jackson Tr. 60:14-61:9 (similar); Ex. 8, Mullins Tr. 43:8–45:13 (explaining Pierre’s

insubordination in 2019, where he ignored her instructions). But these supervisors still authorized

Pierre to work a paid detail at Hurstville, where there was no supervision at all. Ex. 8, Mullins Tr.

49:10–13; Ex. 5, Martin Tr. 71:23–72:3. Bilal’s expert, Dan Busken, who has 35 years of law

enforcement experience, agrees that the HANO Supervisors’ conduct was not justified. See, e.g.,

Ex. 9, Busken Report at 25 (“[P]olice officers working the Hurstville Paid Detail are essentially

performing police duties without supervision and monitoring. Based on my training, knowledge,

and expertise, this creates a well-known and obvious risk that police officers will violate the law.”).

               2.      Case law supports that the HANO Supervisors’ failure to supervise
                       amounts to deliberate indifference.

       The HANO Supervisors argue that deliberate indifference requires “notice of a pattern of

similar violations, which were fairly similar to what ultimately transpired” or a single incident

“when the municipality provided no training whatsoever.” Rec. Doc. 142-1 at p. 20 (citation

omitted). But the HANO Supervisors ignore their own admission that they provided no supervision

whatsoever to Pierre, even though they knew Pierre was conducting stops, carrying his HANO-

issued gun, and engaging in other core police work at Hurstville. Ex. 6, Jackson Tr. 65:14–16

(indicating HANO officers would be patrolling Hurstville streets); see supra § II.A.. Bilal also

presents evidence that Pierre’s training was inadequate. See infra § II.B. Under these

circumstances, this Court can find that the HANO Supervisors were deliberately indifferent to

Bilal’s constitutional rights to be free from an unlawful search and the excessive use of force. Cf.



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Ball v. LeBlanc, 792 F.3d 584, 593–94 (5th Cir. 2015) (holding “substantial risk of serious harm”

from heat stroke amounted to constitutional violation, where “no one at Angola, including these

plaintiffs, has ever had a heat-related incident and that these prisoner’s medical records do not

show signs of heat-related illness”); see also Mitchell v. City of New Orleans, 184 F. Supp. 3d 360,

376 (E.D. La. 2016) (finding deliberate indifference where supervisor “implemented a policy to

promote aggressive street patrol activities where officers would essentially be relieved of the

responsibility to comply with constitutional provisions and would be insulated from accountability

for their illegal actions”). The HANO Supervisors’ cited authority regarding patterns of violations,

therefore, are inapplicable here. See Rec. Doc. 142-1 at p. 20–22.

               3.      Qualified immunity does not apply at all because it is contrary to the
                       Notwithstanding Clause of the original text of Section 1983.

       There is a “growing, cross-ideological chorus of jurists and scholars” recognizing that

qualified immunity has no basis in the text of Section 1983 or the common law. Zadeh v. Robinson,

928 F.3d 457, 480–81(5th Cir. 2019) (Willet, J. concurring); Ziglar v. Abbasi, 137 S. Ct. 1843,

1871 (2017) (Thomas, J., concurring) (courts applying the doctrine are not “engaged in

‘interpret[ing] the intent of Congress in enacting’” § 1983 and further “the sort of ‘freewheeling

policy choice[s]’” that is antithetical to the judicial role). For example, recent scholarship

illuminates that the doctrine of qualified immunity “has no place in Section 1983” because it was

adopted on the mistaken presumption that a relevant statute was silent about the common law. See

generally Alexander A. Reinert, Qualified Immunity’s Flawed Foundation, 111 CALIF. L. REV.

101, 166–67 (forthcoming); see also Rogers v. Jarrett, --- F.4th ----, 2023 WL 2706752, at *7 (5th

Cir. Mar. 30, 2023) (Willett, J., concurring) (describing “Professor Reinert’s scholarship” as

“game-changing” because it “supercharges the critique that” the doctrine of qualified immunity

“does not merely complement the text—it brazenly contradicts it,” which is especially important



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“in this text-centric judicial era when jurists profess unswerving fidelity to the words Congress

chose”). 3 For these reasons, the Court should not apply the doctrine of qualified immunity at all.

        B.      The HANO Supervisors’ Failure to Train Pierre Amounts to Deliberate
                Indifference and Caused Pierre’s Violation of Bilal’s Constitutional Rights.

        The HANO Supervisors also failed to train Pierre because they cannot know whether Pierre

needs more or different training, given their admission that they are not supervising him while he

is engaging in police work. See supra § II.A. Pierre’s lack of training also caused the constitutional

violation. For example, Bilal testified that Pierre and Wheeler conducted the stop based on racial

profiling. See Ex. 1, Hankins Tr. 71:1–11. Pierre’s training records do not reflect any training

specifically related to racial profiling and stops, in the year prior to the incident or of the incident.

See Rec. Doc. 142-14 at p. 7–8. Pierre also testified that he has been subject to complaints

regarding stops. Ex. 3, Pierre Tr. 65:1-17. Thus, there is a material dispute of fact regarding

whether the HANO Supervisors’ failed to train Pierre.

        C.      The HANO Supervisors’ Failure to Discipline Pierre Amounts to Deliberate
                Indifference and Caused Pierre’s Violation of Bilal’s Constitutional Rights.

        Material disputes of fact exist about the HANO Supervisors’ failure to discipline Pierre.

As shown above, the HANO Supervisors were deliberately indifferent to Bilal’s constitutional

rights in failing to supervise Pierre. They also failed to discipline Pierre as they were not even

aware of his conduct, given their lack of supervision. See Mitchell, 184 F. Supp. 3d at 376.

        Moreover, Jackson conducted a cursory investigation. See Rec. Doc. 142-18. Jackson did

not record the interviews or even take notes on statements. Ex. 6, Jackson Tr. 32:3–14. He asked



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  Courts also should be cautious before curbing individuals’ right to a jury of their peers. See Manzanares
v. Roosevelt Cty. Adult Detention Ctr., 331 F. Supp. 3d 1260, 1294 n.10 (D.N.M. 2018) (“[I]n a day when
police shootings and excessive force cases are in the news, there should be a remedy when there is a
constitutional violation, and jury trials are the most democratic expression of what police action is
reasonable….”).


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Pierre only three questions about the incident, which supports that the investigation was

perfunctory. Id.at 88:14–89:6.

       Confronted with this evidence, the HANO Supervisors argue that “a single incident of a

failure to discipline following the plaintiff’s complaint of an alleged incident cannot be the cause

of the alleged incident.” Rec. Doc. 142-1 at p. 23 (citation omitted). But here Pierre knew that

none of the HANO Supervisors (and no one from Hurstville) was supervising him and thus that he

would not face any discipline for constitutional violations. HANO’s cursory investigation

following the incident only supports that Pierre’s misconduct would go unchecked.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny the HANO Supervisors’ motion for

summary judgment based on qualified immunity.

  Dated: April 4, 2023                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record by electronic transmission, this 4th day of April 2023.




                                              Christopher Andrews




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